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          IN THE UNITED STATES DISTRICT COURT
         FOR THE NORTHERN DISTRICT OF GEORGIA
                    ATLANTA DIVISION

IN RE: PARAGARD IUD           )     MDL DOCKET NO. 2974
PRODUCTS LIABILITY            )
LITIGATION                    )     (1:20-md-02974-LMM)
                              )     This Document Relates to All Cases


PLAINTIFFS’ OPPOSITION TO DEFENDANTS’ MOTION TO DISMISS
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      Plaintiffs submit this memorandum of law in opposition to Defendants’

Motion to Dismiss Plaintiffs’ Second Amended Master Personal Injury Complaint

(MPIC). See Dkt. 89-1 (Mot.).

                                INTRODUCTION

      For years, Defendants intentionally marketed Paragard to women—

particularly younger women—as quick, easy, and safe to remove. Defendants told

women they could use Paragard to effectively prevent pregnancy while the product

was in place; but that it could be quickly removed “at any time,” allowing a woman

to “try to get pregnant the same day” when she wanted to conceive. Defendants’

representations were false. Paragard poses significant health risks, and the product

has subjected untold thousands of women to material injuries.

      These injuries stem from the simple fact that Paragard has a propensity to

break, especially during removal. That breakage, in turn, often requires a surgical

procedure to remove broken pieces from a woman’s body. Defendants did not tell

Plaintiffs or their healthcare providers how frequently these breakages occur or the

severity and permanency of potential injuries (including, but not limited to,

rendering women unable to conceive), even though Defendants had received

thousands of adverse reports and knew or should have known of Paragard’s dangers.




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      In hundreds of paragraphs of well-pleaded factual allegations, Plaintiffs

explain each claim brought against all of the Defendants. Although multiple

Defendants manufactured Paragard, each is liable to Plaintiffs for refusing to remedy

design and manufacturing defects and/or failing to adequately disclose known risks.

Defendants may dispute these well-pleaded allegations, but surely they are on notice

of them. Defendants nonetheless maintain that the MPIC (1) has not sufficiently

distinguished among the various Defendants or inappropriately incorporates factual

allegations into the counts, (2) fails to state a claim for relief, (3) violates Rule 9’s

pleading standard, and (4) pursues preempted causes of action. Each of the

arguments is without merit and Defendants’ motion should be denied.

      First, the MPIC is not a shotgun pleading. A shotgun pleading is one that

“confuse[s] the ‘enemy,’ and the court,” thwarting the defendant’s ability to prepare

its defense. Weiland v. Palm Beach Cty. Sheriff’s Off., 792 F.3d 1313, 1320 (11th

Cir. 2015). Here, Defendants are not confused and they do not pretend otherwise.

See Mot. 17–20. Instead, they simply take issue with Plaintiffs’ allegations that “all

defendants participated in every act about which plaintiffs complain.” Id. at 2. But

if Defendants dispute the facts, they may answer the MPIC and deny them.

      Second, the MPIC states a claim for failure to warn, design defect, and

manufacturing defect. Defendants’ Motion relies almost entirely on improperly

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disputing factual allegations about the defectiveness of Paragard and the adequacy

of their warnings. Defendants do not even try to conceal their hostility to the Rule

12(b)(6) standard. They categorize well-pleaded allegations as “factually wrong,”

Mot. 20, and say the “common thread to all the ‘defect’ allegations is that they are

contrary to known facts,” id. at 25 (emphasis added). Defendants cite only a

summary-judgment case, which has no bearing on a motion to dismiss, and they

quote selective portions of different warnings they propose are at issue, apparently

hoping this Court will deem the warnings adequate as a matter of law in every state.

Such questions of fact have no role in a Rule 12 motion, especially where the MPIC

pleads ample facts to support the claims.

      Third, the fraud claims are pleaded with specificity. The MPIC lists a number

of specific misrepresentations—Defendants simply deny they exist, or neglect to cite

the relevant portions of the MPIC. Some prongs—such as each plaintiff’s reliance—

are not in the master pleading, but that sort of plaintiff-specific allegation does not

need to be pleaded in a master complaint in an MDL.

      Fourth, no claims are preempted. Preemption is an affirmative defense, and a

particularly demanding one at that. Yet Defendants argue that Plaintiffs needed to

plead specific, newly acquired information that Defendants could have used to

change their label. That feeble effort at burden shifting would be improper even at

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summary judgment or at trial; it certainly cannot succeed on a motion to dismiss.

Beyond that fatal problem, new information obviously existed with respect to labels

before 2019, as Defendants in fact changed the label in 2019. Moreover, Defendants

were required to submit adverse event reports, yet failed to do so, which is actionable

under state law. Design-defect claims are well pleaded because product warnings are

a key aspect of product design under state law, and Defendants could have changed

the warnings. Manufacturing defect claims are well pleaded because nothing in

federal law barred Defendants from improving their manufacturing process and

complying with the processes already in place.

      Defendants’ full-throated dispute of key allegations in the MPIC makes one

point of agreement between the parties clear: this case turns on disputed facts. The

Court should deny the Motion so that those facts can be discovered and litigated.

                             STATEMENT OF FACTS

      Paragard is a non-hormonal, non-surgical intrauterine device (IUD) that is

placed into a woman’s uterus by a healthcare provider. MPIC ¶¶ 30–31. It is

composed of copper wire wrapped around a T-shaped plastic frame; the copper is

intended to produce an inflammatory reaction that disrupts sperm transport and egg

fertilization and prevents a woman from getting pregnant. Id. ¶ 31. A thin thread tied

through the tip of each Paragard allows the easy detection and non-surgical removal

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of Paragard from a woman’s body. Id. Paragard is supposed to be, and is marketed

as, a safe, easy, and fully reversible form of birth control. Id. ¶¶ 9, 30.

      But Paragard is not safe, easy, or fully reversible. Thousands of women have

suffered injuries—including, but not limited to, permanent infertility—from using

Paragard. MPIC ¶¶ 148–54. Paragard is prone to break inside a woman’s body,

partly because the product is insufficiently flexible. Id. ¶ 52. Unlike other IUDs,

“Paragard’s arms have no curvature and are fixed, straight plastic arms bonded to

the plastic vertical post” resulting in a less flexible product. Id. ¶¶ 51, 62. This

unique, rigid T-shaped design is prone to snap at the arms, causing Paragard to break

more than any other IUD on the market in the United States. Id. ¶ 53. The

inflexibility is also partly caused by the raw plastic not meeting minimum flexibility

requirements. Id. ¶¶ 37, 54. As a result, Paragard breaks during removal and has

caused Plaintiffs’ injuries. Id. ¶ 62, 148–54.

      Defendants knew (or should have known) that Paragard could cause and did

cause serious harm to women due to its propensity to break, including during

removal, but Defendants failed to adequately warn of these risks. MPIC ¶¶ 64–69.

Between 2009 and 2020, Defendants received reports of over 2000 Paragard breaks

through the FDA Adverse Event Reporting System (FAERS). Id. ¶ 121. Defendants

received even more adverse event reports, yet failed to properly investigate, record,

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or submit those reports to the FDA. Id. Complaints of breakage occurred at a

disproportionately greater frequency than what would normally be expected, putting

Defendants on notice of the issues. Id. Yet Defendants failed to act. Specifically,

Defendants failed to warn (1) that Paragard is prone to break, including during

removal, even when it is neither embedded in nor has perforated the uterus; (2) of

the frequency with which such breakages occur; and (3) of the severe injuries—

including infertility—that can result from such breakages. See id. ¶¶ 69, 81.

      Defendants’ labels only warn of breakage as connected to when Paragard is

embedded in the uterus or perforates the uterine wall or cervix. MPIC ¶¶ 68–70, 80–

81. Such a warning gives the false impression that breakage occurs less frequently

than it actually does. Critically, no Paragard label warns that breakage can occur

during a routine removal, no label warns about the frequency of breakages, and no

label warns that surgical intervention may be required for routine removals. Id.

Defendants’ labels are thus inaccurate and insufficient. The MPIC is a master

pleading and does not identify the particular label at issue because different plaintiffs

saw different labels. The relevant label will depend on when a specific plaintiff had

her Paragard implanted. Some labels were inadequate in other ways, but all failed to

warn about the risks during routine removal, the frequency of injuries, and the risk

of surgical intervention due to breakage.

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      Despite Defendants’ knowledge that Paragard could break during a routine

removal and the grave injuries that could ensue, Defendants failed to unilaterally

change or supplement the label to adequately warn of these risks. MPIC ¶¶ 6–7, 78–

81, 97–102. Defendants could have—and should have—updated the label to reflect

additional warnings pursuant to a “changes being effected” (CBE) supplement, 21

C.F.R. § 314.70(c). Notably, the Cooper Defendants ultimately amended the

Paragard warning label in September 20191 to add some (but not enough)

information about breakages, MPIC ¶¶ 78–79, demonstrating that they had enough

information to enhance the warning. The Cooper Defendants added a warning that

“[b]reakage of an embedded Paragard during non-surgical removal has been

reported” but still failed to adequately warn about, for example, “the frequency of

breakages, that surgical intervention could be required as a result of a ‘difficult’

removal, that a non-embedded Paragard could break during removal, or that surgery

could prevent a woman from conceiving children.” Id. ¶¶ 80–81. The current

warning label thus remains inadequate.

      Defendants not only failed to warn about the real risks of Paragard, but also

undertook a concerted marketing campaign to promote Paragard as a safe, effective,



1
  Although Defendants used the FDA’s prior approval process, they could have used
the CBE supplement to strengthen the warnings as discussed infra § V(C)(2).
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and easily reversible form of non-surgical birth control. MPIC ¶¶ 75–77. Plaintiffs

relied on Defendants’ misrepresentations and had Paragard inserted based on the

belief Paragard would be safe and allow them to control their child-bearing timeline.

Now, long after some Plaintiffs were injured, Defendants have the audacity to argue

not only that Paragard is not defective, but also that Defendants adequately warned

of material risks. Mot. 21–22. Neither contention is true. The MPIC illustrates that

Paragard is a defective product and that Defendants failed to adequately warn about

significant health risks despite knowing about them for years.

      Plaintiffs also suffered injuries from Paragard’s manufacturing defects.

Defendants failed to comply with Current Good Manufacturing Practices (CGMPs)

and their own Standard Operating Procedures (SOPs) and polices; these violations

resulted in the defects that caused Plaintiffs’ injuries. MPIC ¶¶ 129–47. Defendants

knew of these violations and took no action to correct them. See, e.g., id. ¶¶ 139-45.

                                   ARGUMENT

I.    Motion to Dismiss Standard

      “A ‘motion to dismiss for failure to state a claim upon which relief can be

granted merely tests the sufficiency of the complaint; it does not decide the merits

of the case.’” Higgins v. Bank of Am., N.A., 2015 WL 12086083, at *3 (N.D. Ga.

Sept. 22, 2015), adopted by 2015 WL 12086093 (N.D. Ga. Oct. 20, 2015). That is


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because “Federal Rule of Civil Procedure 8(a)(2) requires only ‘a short and plain

statement of the claim showing that the pleader is entitled to relief,’ in order to ‘give

the defendant fair notice of what the claim is and the grounds upon which it rests.’”

Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 555 (2007) (quoting Fed. R. Civ. P.

8(a)(2), other quotations and citations omitted). A complaint “does not need detailed

factual allegations,” id.; it need only “contain sufficient factual matter, accepted as

true, to ‘state a claim to relief that is plausible on its face.’” Great Am. Assurance

Co. v. Goodwin, 2016 WL 9454434, at *1 (N.D. Ga. Sept. 29, 2016) (May, J.)

(quoting Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009)). In other words, the plaintiff

must “plead[] factual content necessary for the court to draw the reasonable

inference that the defendant is liable for the conduct alleged.” Id. And the Court must

take “the factual allegations in the complaint as true and construe them in the light

most favorable to the plaintiff.” Pielage v. McConnell, 516 F.3d 1282, 1284 (11th

Cir. 2008). Plaintiffs far exceed this standard.

II.   The MPIC Provides Each Defendant Adequate Notice of the Claims.

      The MPIC is not a shotgun pleading for the simple reason that Defendants are

clearly on notice of the claims against them. The “unifying characteristic” of shotgun

pleadings is that they fail “to give the defendants adequate notice of the claims

against them and the grounds upon which each claim rests.” Weiland, 792 F.3d at


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1321–23. In a shotgun pleading, “it is virtually impossible to know which allegations

of fact are intended to support which claim(s) for relief.” Anderson v. Dist. Bd. of

Trustees of Cent. Fla. Cmty. Coll., 77 F. 3d 364, 366 (11th Cir. 1996) (emphasis

added). Each claim in the MPIC is clearly brought against each of the five

Defendants. Any Defendant that believes a fact alleged is wrong may deny it; any

Defendant that believes a claim has not been adequately pleaded may move (and has

moved) to dismiss the claim. But Defendants cannot ignore the well-pleaded

allegations in the MPIC and feign confusion to dismiss every claim on shotgun-

pleading grounds.2

      Defendants argue that the MPIC improperly “lump[s] multiple defendants

together” without distinction and “incorporate[es] by reference” too many

paragraphs. Mot. 19. Both arguments fail.

    A. Plaintiffs Properly Specify Which Claims Apply to Which Defendants.

      Plaintiffs plead when each Defendant manufactured and/or was responsible

for Paragard, MPIC ¶¶ 38–48, and bring each of their sixteen claims against each of



2
  The proper procedural vehicle to clarify a “shotgun pleading” is a motion for a
more definite statement under Rule 12(e)—which requires a defendant to specify
which portions are confusing—not a generalized motion to dismiss the entire
complaint for failure to state a claim. See Anderson, 77 F.3d at 366. Defendants have
neither moved for a more definite statement nor identified any allegedly confusing
allegations.
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the three “Teva Defendants” and two “Cooper Defendants,” id. ¶¶ 15–24. Weiland

explains that some complaints commit the “relatively rare sin of asserting multiple

claims against multiple defendants without specifying which of the defendants are

responsible for which acts or omissions,” but that plainly did not happen here. 792

F.3d at 1323. This sin is “relatively rare” because employing common allegations to

allege common conduct is proper. See Kyle K. v. Chapman, 208 F.3d 940, 944 (11th

Cir. 2000) (explaining that collective pleading “does not render the complaint

deficient” because it “can be fairly read to aver that all defendants are responsible

for the alleged conduct”).3 Impropriety arises only if the allegations cannot be “fairly

read” to apply to each defendant.

      For example, Defendants cite Magluta v. Samples, in which an inmate was

placed in solitary confinement across four prisons over four years and sued fourteen

prison officials for purported violations of six constitutional rights. 256 F.3d 1282,

1283 (11th Cir. 2001). Basic “geographic and temporal realities make plain” that the

prison officials he dealt with in year four were not responsible for placing him in


3
  See also Crowe v. Coleman, 113 F.3d 1536, 1539 (11th Cir. 1997) (“When multiple
defendants are named in a complaint, the allegations can be and usually are to be read
in such a way that each defendant is having the allegation made about him
individually.”); Sprint Sols., Inc. v. Fils-Amie, 44 F. Supp. 3d 1224, 1227 (S.D. Fla.
2014) (“[A] plaintiff may plead claims against multiple defendants by referring to
them collectively, for example by referring to a group of defendants as
‘defendants.’”).
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solitary confinement in year one at a completely different facility. Id. at 1284. That

is a shotgun pleading, because no reader can make sense of what the complaint is

alleging. The same cannot be said of the MPIC.4

      Rather, the MPIC simply alleges conduct each Defendant engaged in; for

example, “Defendants failed to undertake any stability testing of Paragard with the

copper sleeves on each side of the Paragard arm.” MPIC ¶ 37. That means all five

failed to test, an allegation that is perfectly comprehensible. Requiring a master

pleading to allege each fact against each defendant separately would eviscerate the

efficiency gains of using a consolidated document. Any master pleading in this case

would need to put Defendants into logical groups to achieve efficiency.

      More practically, Defendants in the same corporate family—such as the Teva

Defendants and Cooper Defendants—cannot be confused, since they are the party in

the best position to know which entity is responsible for the wrongdoing alleged. See

In re Auto Body Shop Antitrust Litig., 2015 WL 4887882, at *6 (M.D. Fla. June 3,

2015).5 Information about divisions of responsibility among corporate affiliates is


4
  Magluta is also inapposite because the court applied a “rule that heightened
specificity is required in civil rights actions against public officials who may be
entitled to qualified immunity,” which does not apply here. 256 F.3d at 1284.
5
  See also Kruger v. Lely N. Am., Inc., 2021 WL 493135, at *7 (D. Minn. Feb. 10,
2021) (“When multiple defendants are members of the same corporate family, are
wholly owned subsidiaries, and share counsel, the defendants should be able to sort
out amongst themselves who is responsible for the allegedly fraudulent behavior.”).
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held by each corporate family, and Plaintiffs may only learn of such divisions

through the discovery process. See United States v. Kellogg Brown & Root Servs.,

Inc., 2014 WL 4948136, at *11 (C.D. Ill. Sept. 30, 2014) (“Defendants have the

best—and, at this preliminary stage, perhaps only—access to the [necessary]

information.”). No Defendant actually contends—nor could any credibly do so—that

it cannot identify its involvement in the conduct in which its larger corporate family

is alleged to have engaged.

   B. Plaintiffs’ Incorporation of Factual Allegations Is Not Confusing.

      The counts of the MPIC incorporate only the factual allegations contained in

paragraphs 1 through 168, not the allegations in all preceding counts. The mere

incorporation of previous factual allegations by reference does not deprive

“defendants [of] adequate notice of the claims against them.” Weiland, 792 F.3d at

1323–24. In Weiland, the court denied that a plaintiff’s complaint was a shotgun

pleading where the counts incorporated the earlier factual allegations because “[t]he

allegations of each count are not rolled into every successive count on down the

line.” Id. at 1324 (emphasis added). Contra Magluta, 256 F.3d at 1284 (granting

motion to dismiss and employing a heightened pleading standard where the counts

“incorporate[ed] the allegations of any count or counts that precede[d] it”); Wagner

v. First Horizon Pharm. Corp., 464 F.3d 1273, 1279 (11th Cir. 2006) (faulting


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plaintiffs for adopting all prior allegations and failing to connect facts to claims;

faulting district court for dismissing case when repleading was appropriate remedy).

       Moreover, incorporating the allegations of prior counts is permissible when

the complaint “does so only for convenience, and the Court is able to ascertain which

paragraphs are relevant to each of the claims.” Watts v. City of Port St. Lucie, Fla.,

2015 WL 7736532, at *5 (S.D. Fla. Nov. 30, 2015). The MPIC’s incorporation of

prior facts does not render it a shotgun pleading.

III.   Plaintiffs Have Stated Plausible Claims Against Defendants.

       Defendants’ Motion improperly seeks summary judgment based on their own

submissions. Defendants’ grounds for dismissal are uniformly factual questions: the

existence and extent of the defect and the adequacy of the warning. Amazingly,

despite numerous citations to materials outside the pleadings, in their entire

argument Defendants cite not a single legal authority that would support dismissal.

See Mot. 20–26. Apart from general principles from Twombly and Iqbal, the Motion

cites only Yates v. Ortho-McNeil-Janssen Pharms., Inc., which is itself a summary

judgment case. 808 F.3d 281, 287 (6th Cir. 2015). Undeterred by the procedural

posture (and absence of any evidentiary record), Defendants simply quote selective

portions of different warnings they propose are at issue—which are not alleged in

the pleadings—then assert that, so long as the Court takes judicial notice of their


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submission, under every state law the warnings on every Paragard are adequate as

a matter of law.

      The adequacy of each label is a question of fact that will turn on state law, the

relevant risks, and the label as a whole, none of which is before the Court. See Bryant

v. Tech. Rsch. Co., 654 F.2d 1337, 1345 (9th Cir. 1981) (“The adequacy of a warning

under products liability is a question of fact to be left to the jury.”); In re Avandia

Mktg., Sales Pracs. & Prods. Liab. Litig., 817 F. Supp. 2d 535, 548 (E.D. Pa. 2011)

(“[T]he adequacy of a label can rarely be determined based solely on the face of the

label.”); In re Zyprexa Prods. Liab. Litig., 489 F. Supp. 2d 230, 266 (E.D.N.Y. 2007)

(whether a warning is adequate is “ordinarily determined by a jury”). Defendants

rail that the allegations in the MPIC are “factually wrong,” Mot. 20; have “no

scientific basis”; are “inconsistent with core biological and physical principles,” id.

at 20 n.9; that “the exact information which plaintiffs contend is absent is, in fact, in

the Paragard label,” id. at 22; and that the MPIC shows a “startling lack of

understanding of the mechanism of action,” id. at 24. The Motion sums up its own

argument with the bald assertion that the “common thread to all the ‘defect’

allegations is that they are contrary to known facts.” Id. at 25 (emphasis added).

There is a time and place for strenuous denials: an answer. Denial-by-motion is a

nullity because “the district court is not allowed to resolve disputes of fact in

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adjudicating a motion to dismiss.” Page v. Postmaster Gen. & Chief Exec. Officer

of U.S. Postal Serv., 493 F. App’x 994, 998 (11th Cir. 2012). Defendants’ Motion

should be denied both for its failure to conform to the federal rules by reaching

beyond the pleadings and the utter lack of any legal authority for its arguments.

      Despite Defendants’ simplistic mischaracterization, Plaintiffs’ claims are

more than the mere assertion that “Paragards might break.” Mot. 20. In reality,

Plaintiffs allege both the precise Paragard defects and the currently known specific

design and manufacturing deficiencies that caused those defects. Plaintiffs allege

similarly detailed failure-to-warn claims, describing exactly what Defendants failed

to warn about—Paragard’s propensity to break, including during routine removal;

the frequency of breakages; and the severity of resulting injuries—as well as how

Defendants’ marketing efforts obscured the warnings they did provide and misled

Plaintiffs. Taken as true, Plaintiffs have stated facts showing they are entitled to

relief, just as Rule 8(a)(2) requires. Defendants can present their alternative version

of the facts to a jury. But they cannot obtain dismissal at the pleading phase by loudly

proclaiming, “we didn’t do it.”

   A. Plaintiffs State Plausible Design-Defect Claims.

      First, Plaintiffs plead a plausible design-defect claim. Plaintiffs allege that

Defendants’ product is “inherently dangerous and defective, unfit and unsafe for its


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intended and reasonably foreseeable uses, and does not meet or perform to the

expectation of patients and/or their healthcare providers” because it “is prone to

break while inside a woman’s body, including . . . during routine removal during the

course of ordinary use.” MPIC ¶¶ 172–73. Notably, and as Defendants recognize,

Plaintiffs allege one of the currently known reasons why the product has this

propensity to break: “Paragard does not provide sufficient flexibility.” Mot. 3 (citing

MPIC ¶ 52). Defendants further concede that Plaintiffs allege why Paragard is

dangerously inflexible—the overall design and use of raw plastic T units that fall

below minimum flexibility standards. Id. (citing MPIC ¶ 54).

      Plaintiffs allege that (1) unlike other IUDs, “Paragard’s arms have no

curvature,” MPIC ¶ 51; (2) “Paragard breaks more and has more arm breaks than

any other IUD on the market in the United States,” id. ¶ 53; (3) the product decays

and loses flexibility over time, id. ¶ 55; and, as a consequence, (4) “[t]he Paragard

arms are supposed to fold upward to aid in removal, but frequently the arms are

broken or will break at the joint during removal,” id. ¶ 62. And because Defendants

failed to adequately warn Plaintiffs about these defects, Paragard was defective and

unreasonably dangerous. Id. ¶¶ 65, 68–70, 80–81.

      Defendants argue that inflexibility is a mere legal conclusion, and so need not

be accepted as true, Mot. 24, but that is wrong. Baldly claiming that Paragard is

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defectively designed is a legal conclusion; merely asserting that its design was

unreasonable is a bare recitation of an element of a design-defect claim. But alleging

that Paragard is insufficiently flexible is neither of those things. It is an allegation of

raw fact: either Paragard is sufficiently flexible—capable of bending without

breaking—or it is not. The MPIC’s factual allegation is entitled to the presumption

of truth. See Iqbal, 556 U.S. at 678.

       Plaintiffs thus allege not only the specific defects in the product, but also the

factual underpinnings that explain that defect and—though not required in every

state—the feasible alternative designs available to Defendants. See, e.g., Banks v.

ICI Ams., Inc., 450 S.E.2d 671, 673–74 (Ga. 1994) (adopting the risk-utility test for

design defect and noting that alternative designs may be considered).6

    B. Plaintiffs State Plausible Failure to Warn Claims.

       Plaintiffs allege that Paragard’s warnings were (and remain) inadequate

because they fail to warn of (1) “[t]he severity and frequency of the risks associated

with Paragard’s removal,” MPIC ¶ 10, which includes the risk that breakage or

removal may require “surgical intervention and loss of reproductive health and

fertility,” id. ¶ 69; (2) “Paragard’s propensity to break inside the body,” including


6
 Of course, the relevant test for design defect (and required elements) will depend
on the state law that applies to a specific plaintiff. Defendants have not moved to
dismiss any claims under the law of any specific state.
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“during a routine removal procedure and non-surgical removal procedures,” id. ¶¶

68, 70; and (3) “the frequency of the breakage.” Id. ¶¶ 68–69. Plaintiffs also allege

that Defendants’ labeling continues to omit any warnings of “the frequency of

breakages, that surgical intervention could be required as a result of a ‘difficult’

removal, that a nonembedded Paragard could break during removal, or that surgery

could prevent a woman from conceiving children.” Id. ¶ 81 (emphasis added).

      Improperly disputing the above allegations, Defendants misrepresent the

labeled warnings to argue that they address the defects Plaintiffs identify in the

MPIC. Mot. 21. They do not. The three labels Defendants contend warn of

“breakage,” id., fail to specify, among other things, that Paragard may break during

removal, the frequency of breakages, or that the breakage may require surgery to

remove the product. Defendants’ labeling did not adequately warn of the likelihood

of breakages before or during a routine removal (including breakage not associated

with embedment or perforation), that surgical intervention could be required for

removal, and the long-term effects that could result from such surgical intervention.

      Plaintiffs further allege that Defendants obscured what warnings they did

provide through misleading marketing. For example, Defendants marketed Paragard

as “easily reversible,” “remov[able] any time before its 10-year expiration if a

woman wants to become pregnant and that she ‘may become pregnant as soon as

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Paragard is removed.’” MPIC ¶ 58. Defendants told women the product’s

“‘contraceptive effect is reversed’ as soon as Paragard was removed.” Id. ¶ 10.

Defendants also marketed Paragard as “non-surgical” and removable “‘during a

routine office visit in just a few minutes.’” Id. ¶ 59. As Plaintiffs allege, “[t]he

marketing and promotional efforts of Defendants and their advertisers and/or

salesforce served to overstate the benefits of Paragard and minimize and downplay

the risks.” Id. ¶¶ 63, 194. These allegations adequately plead a failure-to-warn claim

because Defendants’ marketing scheme “mitigated or nullified” any warnings that

may have been in the label. See Mendez v. Shah, 28 F. Supp. 3d 282, 299–300 (D.N.J.

2014) (holding that failure-to-warn claim is plausible based on defendants’

marketing scheme that allegedly rendered the label warning inadequate).

   C. Plaintiffs State Plausible Manufacturing Defect Claims.

      Defendants’ attack on Plaintiffs’ viable manufacturing-defect claims likewise

ignores several pages of allegations on the precise (and currently known)

manufacturing practices Defendants were required to follow to ensure their products

did not deviate from design specifications, and the specific ways in which those

defects manifested and caused Plaintiffs’ injuries. See MPIC ¶¶ 129–47.

      First, Plaintiffs explain why Current Good Manufacturing Practices (CGMPs)

are critical to the manufacturing process and required by federal law. MPIC ¶¶ 129–


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31. Next, Plaintiffs identify CGMPs Defendants were legally required to follow to

manufacture Paragard. Id. ¶¶ 132–36. Finally, Plaintiffs catalogue in detail how and

why Defendants’ products deviated from the design specifications, and why those

defective products were nevertheless sold to women: (1) they were produced in

violation of federally mandated safety regulations, maintenance, quality control, and

cleanliness standards; (2) they were made with plastic material that fell below

minimum flexibility requirements; (3) they contained copper that corroded or rotted

even before shipment; (4) they were produced without adequate quality assurance

and quality control procedures; and (5) they were produced in violation of

Defendants own written policies and SOPs. Id. ¶¶ 139–47.

      Plaintiffs’ allegation that Defendants violated CGMPs would alone be

sufficient to state a manufacturing-defect claim. See, e.g., Godelia v. Doe 1, 881 F.3d

1309, 1318 (11th Cir. 2018) (holding that alleged violations of sections of 21 C.F.R.

820 et seq. were sufficient to state a claim for manufacturing defect under Florida

law); Mink v. Smith & Nephew, Inc., 860 F.3d 1319, 1331 n.3 (11th Cir. 2017)

(concluding manufacturing defect claims based on federal requirements were not

preempted and stated valid manufacturing defect theory)7; Bausch v. Stryker Corp.,



7
  Mink also disposes of Defendants’ anemic invocation of preemption based on the
federal government’s exclusive enforcement power. See Mot. 44 n.20. In any event,
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630 F.3d 546, 559–60 (7th Cir. 2010) (concluding claims were adequately pleaded

where the plaintiff alleged violations of federally required manufacturing and

inspection processes); Howard v. Sulzer Orthopedics, Inc., 382 F. App’x 436, 440–

41 (6th Cir. 2010) (holding a claimed deviation from the FDA-approved

manufacturing process and a single CGMP adequately pleaded a manufacturing

defect); Green v. Medtronic, Inc., 2020 WL 4577713, at *3 (N.D. Ga. May 1, 2020)

(holding that plaintiff “plausibly alleged” manufacturing defect based on alleged

violations of CGMPs). Here, Plaintiffs not only identify the alleged CGMPs

Defendants violated; they explain the precise manufacturing defects complained of

and their causes.

      The only case Defendants cite, Yates, 808 F.3d 281, is inapposite. In Yates,

the Sixth Circuit held on summary judgment that a warned-of side effect cannot serve

as circumstantial evidence of a manufacturing defect. Here, Defendants failed to

warn about Paragard’s propensity to break, especially during removal, the frequency

of such breakages, and the potential resulting injuries. Plaintiffs allege that they have

suffered injuries of which they were not warned and were caused by the products’

manufacturing and design defects. Moreover, Yates held that there was no evidence



that argument is waived, because arguments made “in a footnote only” are waived.
Mock v. Bell Helicopter Textron, Inc., 373 F. App’x 989, 992 (11th Cir. 2010).
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that the product used by the plaintiff differed from the FDA-approved design, while

here the MPIC alleges precisely that fact.

IV. Plaintiffs Pleaded Their Fraud Claims with Specificity and Satisfy the
Requirements of Rule 9(b).

      Rule 9(b) of the Federal Rules of Civil Procedure requires a party “alleging

fraud . . . [to] state with particularity the circumstances constituting fraud.” “The

purpose of Rule 9(b) is to alert defendants to the precise misconduct with which they

are charged and protect defendants against spurious charges.” U.S. ex rel. Matheny

v. Medco Health Sols., Inc., 671 F.3d 1217, 1222 (11th Cir. 2012); Zone 4, Inc. v.

Brown, 2019 WL 7833902, at *3 (N.D. Ga. June 12, 2019) (May, J.) (same). The

Eleventh Circuit has made clear “[t]he application of the rule, however, must not

abrogate the concept of notice pleading.” Durham v. Bus. Mgmt. Assocs., 847 F.2d

1505, 1511 (11th Cir. 1988) (emphasis added). Moreover, “[t]he heightened

pleading standard of Rule 9(b) is relaxed when specific facts are ‘peculiarly within

the defendant’s knowledge or control.’” SEC v. Melvin, 2013 WL 12062834, at *4

(N.D. Ga. June 26, 2013) (collecting cases).

      Defendants ignore the factual allegations in the MPIC to argue that Plaintiffs

fail to “identify a representation of fact that is false” and do not satisfy the pleading

requirements of Rule 9(b). Mot. 27. Defendants’ contentions are facially incorrect.

The MPIC specifies numerous misrepresentations. For example, Plaintiffs detail
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specific statements from Defendants’ marketing materials that “intentionally

convey[ed] to consumers that Paragard removal is easy and safe, with no risk of

complication” and failed to “otherwise relay the risks of Paragard.” MPIC ¶¶ 56–60;

see, e.g., id. ¶ 59 (“The relevant Defendants have heavily marketed Paragard as

being ‘reversible,’ ‘non-surgical,’ and removable by a healthcare provider ‘during a

routine office visit in just a few minutes.’”); id. ¶¶ 106–10.

      Critically, Defendants ignore allegations identifying specific marketing

material Defendants used on their website from December 2016 through April 2018:

             75. Defendants intentionally marketed Paragard to
             women—particularly younger women—as quick and easy
             to remove without the risk of complications such that a
             woman could use Paragard and then have it quickly
             removed when she wanted to conceive. As Defendants
             told women, “See how Paragard lets you own your story,”
             suggesting that Paragard was risk-free and that by using
             Paragard, women could decide to get pregnant at any time.
             76. Defendants intentionally downplayed the risks of
             breakage, including, but not limited to, during removal,
             and told women they could try to get pregnant the same
             day they had their Paragard removed. For instance, based
             on information and belief, from December 2016 through
             April 2018, Defendants included the excerpt below on the
             Paragard website:




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MPIC ¶¶ 75–76. These allegations clearly set forth the “who, what, where, and how”

that Defendants contend is missing from the MPIC. See Mot. at 27.

      Defendants next improperly dispute not the specificity of the allegations, but

their veracity, accusing plaintiffs of “making up language” and suing based on

“statements that simply do not exist,” in particular that Paragard was “safe.” Mot.

27. The argument borders on the absurd. Defendants’ marketing materials conveyed

that Paragard was safe in that it was easily removable with no complications such

that woman could “try to get pregnant the same day” and that Paragard would enable

women to “own [their] story.” MPIC ¶¶ 58–60, 75–76. Defendants also stated that

“Paragard is 99% effective and 100% hormone free,” further promoting Paragard as

a safe and effective contraceptive. Notably, the FDA found Defendants’ statement

that Paragard is “100% HORMONE FREE” to be misleading because it “gave the

impression to consumers that Paragard was safer than other long-acting reversible
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contraceptives.”8 Id. ¶ 73. The other statements set forth in the above promotional

material similarly give the impression that Paragard is safe and effective even if the

materials do not use the term “safe.”

      Furthermore, Defendants failed to include accurate labeling to make Paragard

safe and effective. Specifically, Defendants failed to include a warning that Paragard

could break during removal and cause injury, failed to include information about the

frequency of breakages, and failed to include a proper expiration date to ensure

Paragard would not degrade and be subject to breakage. MPIC ¶¶ 100–02. Plaintiffs

further allege that Defendants knew or should have known about these issues but

failed to include appropriate warnings about these risks and failed to provide a proper

expiration date. Id. ¶ 102. These false statements bear on Defendants’ representation

regarding the safety of the product in its labeling, and Defendants’ attempts to argue

otherwise fail.

      Plaintiffs also sufficiently pleaded the “reliance” element of their fraud

claims. The MPIC expressly alleges that Plaintiffs had Paragard inserted after



8
  Defendants even argue that the statements the FDA found misleading “still fall
short” because the MPIC supposedly lacks any indication of what the
“representation” entailed. Mot. 29 n.15. The simplest refutation of this pants-on-fire
argument is paragraph 73, which quotes the representations, including “100%
HORMONE FREE,” which is the same statement Defendants made in the marketing
material set forth in the MPIC ¶ 76.
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relying on Defendants’ misrepresentations that it would be “safe, effective, and

reversible.” MPIC ¶¶ 77, 296–297.

      Regardless, the MPIC is a master pleading and is not intended to include each

individual plaintiff’s unique allegations (as reliance must be); rather, it sets forth

claims common across the MDL. See In re: Allergan Biocell Textured Breast

Implant Prods. Liab. Litig., 2021 WL 1050910, at *19 (D.N.J. Mar. 19, 2021). As a

general matter, a master complaint “should not be given the same effect as an

ordinary complaint.” In re Propulsid Prods. Liab. Litig., 208 F.R.D. 133, 141–42

(E.D. La. 2002); see In re Zimmer Nexgen Knee Implant Prods. Liab. Litig., 2012

WL 3582708, at *3 (N.D. Ill. Aug. 16, 2012) (“[M]aster or consolidated complaints

must be interpreted in light of the primary purpose of multidistrict litigation: to

promote efficiency through the coordination of discovery.”) (internal citations and

quotation omitted); In re Vioxx Prods. Liab. Litig., 239 F.R.D. 450, 454 (E.D. La.

2006). With this “further overlay” of a master complaint to the deferential 12(b)(6)

standard, courts review master complaints in MDLs and corresponding motions to

dismiss “in light of [the master complaint’s] procedural purpose.” In re Digitek

Prods. Liab. Litig., 2009 WL 2433468, at *8 (S.D. W.Va. Aug. 3, 2009).

      For instance, in In re: Allergan, the court assessed common facts across the

MDL according to the typical motion to dismiss standard but would “review[] with

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substantial leniency[] the facts that may be specific to each individual [p]laintiff or

largely within the control of [defendant].” 2021 WL 1050910 at *19. Similarly, in

In re Trasylol Prods. Liab. Litig., the court refused to dismiss plaintiffs’ fraud claims

because the allegations defendants demanded would “completely remov[e] the

compromise and attempt at efficiency” intended by filing a master complaint. 2009

WL 577726, at *8 (S.D. Fla. Mar. 5, 2009). Similarly, here, individual plaintiffs

should identify the respective statements upon which they or their physicians relied

in an individual pleading or fact sheet. See id. (“[F]or the most part, the information

missing from the plaintiffs’ complaints in this case . . . is outweighed by the

sufficiency of the description of the claims against the defendants.”) (citation

omitted).

V.     Defendants Cannot Demonstrate Federal Preemption.

     A. Regulatory Background

       Before marketing a pharmaceutical drug, drug manufacturers must submit a

New Drug Application (NDA) that contains a proposed label and investigation

reports showing that the drug is safe and effective. See 21 U.S.C. § 355(a)–(b). The

Food, Drug, and Cosmetics Act (FDCA), however, recognizes that drug-safety

information may change over time, and that this new information may require

changes to the label. 21 C.F.R. §§ 314.80(c), 314.81(b)(2)(i). Manufacturers also


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must “promptly review all adverse drug experience information obtained or

otherwise received by the applicant from any source, foreign or domestic, including

information derived from commercial marketing experience, postmarketing clinical

investigations, postmarketing epidemiological/surveillance studies, reports in the

scientific literature, and unpublished scientific papers,” and submit such adverse

event information to FDA. Id. § 314.80(b)–(c).9

      Additionally, the FDCA deems a drug misbranded “[i]f it is dangerous to

health when used in the dosage, or manner or with the frequency or duration

prescribed, recommended, or suggested in the labeling thereof,” or “[i]f its labeling

is false or misleading in any particular.” 21 U.S.C. § 352(j), (a)(1). It is unlawful to

misbrand a drug, to sell a misbranded drug, or to receive or deliver a misbranded

drug into interstate commerce. Id. § 331(a)–(c).

      These provisions squarely place responsibility for a drug’s labeling on a

manufacturer, but do not impose any particular method for changing a drug’s label.

Defendants’ contrary assertion that “under the FDCA, any change to an approved

application must be approved by FDA prior to its implementation” cites no authority

and is false. Mot. 7; see Wyeth v. Levine, 555 U.S. 555, 568 (2009) (noting that FDA


9
 If adverse event information is forwarded to the manufacturer from the FDA, the
manufacturer “must submit all followup information on such reports to the FDA.”
§ 314.80(b).
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regulations, consistent with the FDCA “permits a manufacturer to make certain

changes to its label before receiving the agency’s approval”).

      The FDA has promulgated relevant regulations for changes through what it

calls “supplemental” applications. The intent and text of these regulations require

FDA pre-approval for changes that may pose a risk to the public, but only notice to

the Agency for changes that enhance warnings or reduce ineffectiveness. A “major

change”—which must be approved before implementation—is defined as “any

change in the drug substance, drug product, production process, quality controls,

equipment, or facilities that has a substantial potential to have an adverse effect on

the identity, strength, quality, purity, or potency of the drug product as these factors

may relate to the safety or effectiveness of the drug product.” 21 C.F.R.

§ 314.70(b)(1) (emphasis added). A “moderate change”—which can be

implemented either immediately or after 30 days’ notice—is defined the same way,

with the word “substantial potential” changed to “moderate potential.” Id.

§ 314.70(c)(1). A “minor change”—which can be implemented immediately and

disclosed in an annual report—is one with a “minimal potential.” Id. § 314.70(d)(1).

Beyond these overall definitions, the regulation has specific examples of changes

that fit within each category.




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      Certain changes that manufacturers may make immediately as moderate

changes “include, but are not limited to”:

             (iii) Changes in the labeling to reflect newly acquired
             information . . . to accomplish any of the following:
             (A) To add or strengthen a contraindication, warning,
             precaution, or adverse reaction for which the evidence of
             a causal association satisfies the standard for inclusion in
             the labeling under § 201.57(c) of this chapter;
             (B) To add or strengthen a statement about drug abuse,
             dependence, psychological effect, or overdosage;
             (C) To add or strengthen an instruction about dosage and
             administration that is intended to increase the safe use of
             the drug product;
             (D) To delete false, misleading, or unsupported indications
             for use or claims for effectiveness . . . .

21 C.F.R. § 314.70(c)(6). The text and its underlying logic are clear: no pre-approval

is needed for enhancing warnings, deleting false information, removing an

unsupported indication, or strengthening an instruction, because none of these has

the substantial potential to have an adverse effect on safety or effectiveness.

   B. Preemption Law

      Federal preemption follows from the Supremacy Clause of the Constitution,

which renders “Laws of the United States . . . the supreme Law of the Land . . . any

Thing in the Constitution or Laws of any State to the Contrary notwithstanding.”

U.S. Const. Art. VI, cl. 2. “Congress has not enacted [an express preemption]

provision for prescription drugs.” Wyeth, 555 U.S. at 574. Where no express


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preemption clause governs, courts will not find implied preemption lightly, because

“it is [a court’s] duty to respect not only what Congress wrote but, as importantly,

what it didn’t write.” Va. Uranium, Inc. v. Warren, 139 S. Ct. 1894, 1900 (2019)

(plurality opinion). As relevant here, state law gives way to federal law by

implication only “where it is impossible for a private party to comply with both state

and federal requirements.” English v. Gen. Elec. Co., 496 U.S. 72, 79 (1990).

      The Supreme Court’s leading case addressing impossibility preemption for

pharmaceuticals is Wyeth v. Levine, which held that a failure-to-warn claim against

the brand-name manufacturer of Phenergan was not preempted. The Court began by

observing that “[i]n all preemption cases, and particularly in those in which Congress

has ‘legislated . . . in a field which the States have traditionally occupied,’ . . . we

‘start with the assumption that the historic police powers of the States were not to be

superseded by the Federal Act unless that was the clear and manifest purpose of

Congress.’” Wyeth, 555 U.S. at 565 (quoting Medtronic Inc. v. Lohr, 518 U.S. 470,

485 (1996)). The Court then reviewed “the history of federal regulation of drugs and

drug labeling,” explaining that the law has become more protective over time, and

that Congress has consistently preserved state remedies. Id. at 566–68. Through

numerous enhancements to the FDCA, “it has remained a central premise of federal

drug regulation that the manufacturer bears responsibility for the content of its label

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at all times. It is charged both with crafting an adequate label and with ensuring that

its warnings remain adequate as long as the drug is on the market.” Id. at 570–71.

The duty to ensure drug safety rests squarely with the manufacturer. The Wyeth

Court set out the applicable test: “absent clear evidence that the FDA would not have

approved a change to [a drug’s] label, we will not conclude that it was impossible

for [a Defendant] to comply with both federal and state requirements.” Id. at 571.

      The most recent case in this area reaffirmed Wyeth. See Merck Sharp &

Dohme Corp. v. Albrecht, 139 S. Ct. 1668, 1678 (2019). Albrecht set out a two-part

test for impossibility preemption: the drug manufacturer must show that (1) “it fully

informed the FDA of the justifications for the warning required by state law” and

(2) “the FDA, in turn, informed the drug manufacturer that the FDA would not

approve changing the drug’s label to include that warning.” Id. To prove the second

prong, defendants must provide “clear evidence” that the FDA would reject a label

change by pointing to “the only agency actions that can determine the answer to the

pre-emption question,” which are those actions “taken pursuant to the FDA’s

congressionally delegated authority,”—i.e., only “agency actions carrying the force

of law” can preempt state laws. Id. at 1679. Mere predictions based on agency

preferences, letters, or draft materials would not suffice, because such agency actions

lack the “force of law,” and show only the “possibility of impossibility.” Id. at 1678.

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      As both Wyeth and Albrecht explain, even where a defendant has submitted

similar warnings to the FDA and had those warnings rejected, preemption does not

follow without “evidence that shows the court that the drug manufacturer fully

informed the FDA of the justifications for the warning required by state law and that

the FDA, in turn, informed the drug manufacturer that the FDA would not approve

a change to the drug’s label to include that warning.” Id. at 1672 (emphasis added).

All told, in the drug labeling context the burden on defendants and fact-intensive

nature of preemption means “[i]mpossibility preemption is a demanding defense.”

Id. at 1678 (quoting Wyeth, 555 U.S. at 573).

   C. Each Claim Survives Federal Preemption.

      To carry their demanding burden on impossibility preemption, Defendants

would need to persuade the Court that it presented adequate warnings to the FDA

and that the FDA rejected those warnings with full information and in a formal act

carrying the force of law. To carry that burden on a motion to dismiss, Defendants

must meet their burden armed only with the well-pleaded allegations in the MPIC.

Defendants do not merely fail to carry their burden—they fail to pick it up. That is

not surprising, because accepting the MPIC’s allegations as true, federal law

encouraged or even required Defendants to meet their state-law duties. Conflict

preemption cannot exist where state and federal law are in perfect harmony.


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          1. Defendants Failed to Carry Their Burden to Show Impossibility on Any
             Claim.

      Preemption is an affirmative defense. Despite that black letter law,

Defendants complain that Plaintiffs did not “allege, in the first instance, what ‘newly

acquired information’ warrants the label change they advocate.” Mot. 40.

Defendants’ upside-down preemption argument is that any label change must be

impossible because Plaintiffs did not allege specific facts showing why it was

possible. The Motion must be denied because nothing in the federal rules required

Plaintiffs to do so.10 See Fed. R. Civ. P. 8(a)(2).

      The Supreme Court has affirmed this principle time and again. For instance,

in Jones v. Bock, the Court held that even though “exhaustion is mandatory under

the PLRA,” because exhaustion was an affirmative defense, “inmates are not



10
  A minority of cases place the burden on plaintiff to plead with specificity what
newly acquired information was available. Those authorities are not binding and are
not correct. See Mot. 40–41 (citing, e.g., In re Celexa & Lexapro Mktg. & Sales
Pracs. Litig., 779 F.3d 34 (1st Cir. 2015), which was decided before Albrecht). As
Albrecht makes clear, “impossibility pre-emption is a demanding defense” and
Defendants must show that they fully informed the FDA of the need for the warning
and that the FDA would not approve the change. 139 S. Ct. at 1678; see also In re
Avandia Mktg., Sales & Prods. Liab. Litig., 945 F.3d 749, 758–59 (3d Cir. 2019)
(placing burden of proof on defendant). None of the cases Defendants cite
considered the argument that plaintiffs have no burden to plead around affirmative
defenses; in following those cases this Court “would risk error [by] rel[ying] on
assumptions that have gone unstated and unexamined.” Ariz. Christian Sch. Tuition
Org. v. Winn, 563 U.S. 125, 145 (2011).
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required to specially plead or demonstrate exhaustion in their complaints.” 549 U.S.

199, 211, 216 (2007). This was so even though the obvious consequence is that

inmates could simply allege nothing about exhaustion and proceed to the next stage

of litigation. “[C]ourts should generally not depart from the usual practice under the

Federal Rules on the basis of perceived policy concerns.” Id. at 212. Similarly, in

Gomez v. Toledo, the Supreme Court held that because “qualified immunity is a

defense, the burden of pleading it rests with the defendant” and so “[i]t is for the

official to claim that his conduct was justified by an objectively reasonable belief

that it was lawful. We see no basis for imposing on the plaintiff an obligation to

anticipate such a defense by stating in his complaint that the defendant acted in bad

faith.” 446 U.S. 635, 640 (1980) (emphasis added).

      Following this reasoning, the Eleventh Circuit has long held that “[g]enerally,

the existence of an affirmative defense will not support a motion to dismiss.” Quiller

v. Barclays Am./Credit, Inc., 727 F.2d 1067, 1069 (11th Cir. 1984), reinstated on

reh’g en banc, 764 F.2d 1400 (11th Cir. 1985) (per curiam). A Rule 12 motion may

be granted only in the exceptional circumstance “when [the complaint’s] own

allegations indicate the existence of an affirmative defense, so long as the defense

clearly appears on the face of the complaint.” Id. This Court has time-and-again held

that defendants cannot prevail on an affirmative defense unless each element of the

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defense appears on the face of the complaint. See, e.g., King v. Nat’l Union Fire Ins.

Co. of Pittsburg, Pa., 2018 WL 8929811, at *3 (N.D. Ga. July 6, 2018) (“[A]n

affirmative defense must be clearly established on the face of the complaint. . . .”);

Weed v. SunTrust Bank, 2018 WL 2100590, at *3 (N.D. Ga. May 7, 2018) (noting

express consent defense is “simply premature” because it “does not clearly appear

on the face of the Amended Complaint”).

      Defendants do not even purport to argue that Plaintiffs here “plead[ed] itself

out of court by pleading facts that establish an impenetrable defense to its claims.”

Tamayo v. Blagojevich, 526 F.3d 1074, 1086 (7th Cir. 2008). Nowhere in the

pleadings do Plaintiffs allege that Defendants could not have changed their design

or label or that they lacked new information. The MPIC says the opposite. MPIC

¶ 79 (“Defendants could have updated the warning label based on ‘newly acquired

information’ but chose not to”); id. ¶¶ 120–21 (Defendants failed “to adequately

communicate and submit adverse event reports or new information gleaned from

adverse event reports about Paragard breakages and associated injuries” and alleging

that “breakage occurred at a disproportionately greater frequency than what would

normally be anticipated”); id. ¶ 126. Defendants’ only play is to imply that

preemption is presumed, and dismissal must follow because they believe the MPIC

did not “overcome preemption.” Mot. 42. This Court should decline that gambit, and

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instead follow the bedrock law that preemption is an affirmative defense that

Defendants must establish, and the only relevant presumption is the one courts must

employ against preemption. Wyeth, 555 U.S. at 565; see also id. at 572 (rejecting

preemption argument because defendant “offered no such evidence” that the FDA

would have rejected a label change).

      Imposing a heightened pleading requirement would be especially

inappropriate given that defendants often have most of the relevant information. Cf.

Gomez, 446 U.S. at 640–41 (“[T]he allocation of the burden of pleading is supported

by the nature of the qualified immunity defense . . . [which] depends on facts

peculiarly within the knowledge and control of the defendant.”). Defendants’ own

records show what it told the FDA, what analyses it performed on its data, and how

the FDA responded. Many of those records are confidential. All are unavailable to

Plaintiffs before discovery, and none of those preemption-determinative facts are

before this Court. For precisely that reason, courts that have considered this question

have held that a motion to dismiss cannot be granted merely because the plaintiffs

did not plead facts to defeat an impossibility preemption defense. See Gremo v.

Bayer Corp., 469 F. Supp. 3d 240, 253–54 (D.N.J. 2020) (“[A]s the Supreme Court

has reiterated, impossibility pre-emption is ‘a demanding defense’ rather than a

pleading requirement. Moreover, the impossibility pre-emption defense places the

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burden on Defendants—and not Plaintiff—to support that defense with ‘clear

evidence[.]’”);11 Evans v. Gilead Scis., Inc., 2020 WL 5189995, at *10–11 (D. Haw.

Aug. 31, 2020) (“Evans is not required to plead the existence of ‘newly acquired

information.’ ‘FDCA preemption, like all federal preemption, is an affirmative

defense. . . .’ As such, whether ‘newly acquired information’ existed prior to when

[plaintiff] was prescribed [the drug], is an issue for post-discovery motion

practice.”). The alternative would require a plaintiff to include in her complaint

studies, new analyses, and adverse events not fully considered by the FDA in its

review of “‘thousands of pages and . . . clinical trials conducted over several years,’

. . . [which] would give new meaning to the phrase ‘short and plain’ under Rule

8(a)(2).” Evans, 2020 WL 5189995, at *10 n.17.




11
   Gremo also emphasized the stark difference between the fact-intensive inquiry
contemplated by Wyeth and the analysis possible on a Rule 12 motion: “Even though
‘a judge, not the jury, must decide the pre-emption question,’ that question is not
properly before the Court to answer at this time. See, e.g., Wyeth, 555 U.S. at 572–
73 (finding that after the completion of discovery and at the trial-ready stage of the
case Wyeth’s evidence for its pre-emption defense failed for two reasons: (1) the
record did not show that Wyeth supplied the FDA with an evaluation or analysis
concerning the specific dangers that would have merited the warning, and (2) the
record did not show that Wyeth attempted to give the kind of warning required by
state law but was prohibited from doing so by the FDA).” 469 F. Supp. 3d at 254.
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         2. Plaintiffs’ Failure-to-Warn Claims Survive Preemption.

      Even apart from Defendants’ burden, Plaintiffs’ claims easily survive

preemption. First, Defendants misstate the standard for “newly acquired

information” by overstating both how new it must be and how substantial it must be.

Second, Defendants misapply that standard to the MPIC.

      The test for “new” information is quite low: Under FDA regulations, most

every sort of information not previously submitted to the Agency qualifies as “new.”

As the Supreme Court explained,

            ‘[N]ewly acquired information’ is not limited to new data,
            but also encompasses ‘new analyses of previously
            submitted data.’ The [FDA’s] rule accounts for the fact
            that risk information accumulates over time and that the
            same data may take on a different meaning in light of
            subsequent developments: ‘[I]f the sponsor submits
            adverse event information to FDA, and then later conducts
            a new analysis of data showing risks of a different type or
            of greater severity or frequency than did reports previously
            submitted to FDA, the sponsor meets the requirement for
            ‘newly acquired information.’

Wyeth, 555 U.S. at 569 (quoting 73 Fed. Reg. 49603 (2008)).

      The supposed limitation to “evidence of a causal association” is no

impediment to Plaintiffs’ claims. Mot. 33. Section 314.70(c)(6)(iii)(A) simply

requires “evidence of a causal association”—the language Defendants repeatedly

quote—that “satisfies the standard for inclusion in the labeling under § 201.57(c).”


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And § 201.57(c)—which Defendants deemphasize—sets out two of those standards

for inclusion, one for warnings and one for adverse events. “[L]abeling must be

revised to include a warning about a clinically significant hazard as soon as there is

reasonable evidence of a causal association with a drug; a causal relationship need

not have been definitely established.” 21 C.F.R. § 201.57(c)(6)(i) (emphasis added);

73 Fed. Reg. 49603, 49604 (Aug. 22, 2008) (interpreting the standard to be less than

preponderance of the evidence). The standard is even lower for adverse events,

which should be included if “there is some basis to believe there is a causal

relationship between the drug and the occurrence of the adverse event.”

§ 201.57(c)(7) (emphasis added).

      The Supreme Court applied these prongs in Wyeth. It first noted as a strike

against Wyeth—who bore the burden on preemption—that the “record is limited

concerning what newly acquired information Wyeth had or should have had.”

Wyeth, 555 U.S. at 569 (emphasis added). Here, of course, there is no record, but

beyond that, this shows that information Defendants should have had is sufficient.

The Court continued:

             Levine did, however, present evidence of at least 20
             incidents prior to her injury in which a Phenergan injection
             resulted in gangrene and an amputation. After the first
             such incident came to Wyeth’s attention in 1967, it
             notified the FDA and worked with the agency to change
             Phenergan’s label. In later years, as amputations continued
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             to occur, Wyeth could have analyzed the accumulating
             data and added a stronger warning about IV-push
             administration of the drug.

Id. at 569–70. The analysis is worth restating: 20 incidents over four decades was

sufficient to trigger the CBE regulation in Wyeth because the manufacturer “could

have analyzed” the data. If that was enough for the Supreme Court reviewing a jury

verdict, surely alleging more than two thousand Paragard breaks over a ten-year

stretch is enough on a motion to dismiss. MPIC ¶ 121.

      Defendants’ preemption argument collapses even on its own terms, since

Defendants changed the label in 2019, and a substantial majority of Plaintiffs in this

action used Paragard with the pre-2019 label. As the MPIC alleges, Defendants

plainly had new information for that labeling change, MPIC ¶¶ 78–79, which means

none of the claims based on the pre-2019 label can be preempted. Defendants’

argument that they already warned of Paragard’s propensity to break upon removal

is simply false. Mot. 39. Although the label vaguely referenced breakage in relation

to embedment, it never warned that a non-embedded Paragard could break upon

removal and cause significant injuries, as Plaintiffs allege. MPIC ¶¶ 69–71, 76, 78–

81. And the post-2019 label is still inadequate because it fails to warn about the

propensity and frequency of Paragard breaking during routine removal and the

serious consequences that could result. Id. ¶ 81.


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      Separately, multiple federal courts have held that another variant of failure to

warn—failing to submit adverse event reports to the FDA—survives preemption and

is available to injured persons. See, e.g., Stengel v. Medtronic Inc., 704 F.3d 1224,

1233 (9th Cir. 2013) (en banc); Hughes v. Bos. Sci. Corp., 631 F.3d 762, 769 (5th

Cir. 2011). In some states, a manufacturer’s duty to warn consumers includes “a duty

to convey warnings to a third party that can reasonably be expected to warn the

consumer.” Coleman v. Medtronic, Inc., 223 Cal. App. 4th 413, 429 (2014); see also,

e.g., Rosen v. St. Jude Med., Inc., 41 F. Supp. 3d 170, 185 (N.D.N.Y. 2014);

McLaughlin v. Bayer Corp., 172 F. Supp. 3d 804, 837–38 (E.D. Pa. 2016). More

specifically, this duty to warn includes “a requirement to file adverse event reports

with the FDA if that is the only available method to warn doctors and consumers.”

Coleman, 223 Cal. App. 4th at 429. This state-law duty to warn the FDA does not

conflict with any requirement of federal law—in fact, it is required by both federal

and state law—and thus is not preempted. See Stengel, 704 F.3d at 1233–34.

      Here, Plaintiffs allege that “Defendants systematically failed to properly

monitor and handle complaints . . . and fail[ed] to adequately communicate and

submit adverse event reports” to the FDA. MPIC ¶¶ 111–28, 230, 275–76. The

MPIC also alleges that had Plaintiffs received proper or adequate warnings and

instructions, Plaintiffs would have heard about and heeded those warnings. Id. ¶ 286.

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Defendants’ Motion wholly ignores this theory, providing no argument that it is

preempted (which of course it is not), or that it was insufficiently pleaded.

          3. Plaintiffs’ Design-Defect Claims Survive Preemption.

      The standard for a design defect differs across states, but the Supreme Court

has recognized that many states’ design-defect claims turn on the warnings

associated with the product, which are part of the product itself: “New Hampshire’s

design-defect cause of action imposed a duty on Mutual to strengthen sulindac’s

warnings.” Mut. Pharm. Co. v. Bartlett, 570 U.S. 472, 484 (2013); see also Chellman

v. Saab-Scania AB, 637 A.2d 148, 150 (N.H. 1993) (“The duty to warn is part of the

general duty to design . . . . If the design of a product makes a warning necessary to

avoid an unreasonable risk of harm from a foreseeable use, the lack of warning or

an ineffective warning causes the product to be defective and unreasonably

dangerous.”). Other states similarly consider the label in assessing design defects.

E.g., Freund v. Cellofilm Props., Inc., 432 A.2d 925, 929–32 (N.J. 1981) (discussing

cases in which “the design defect consists of an inadequate warning involving safety

of the product”); Mohr v. St. Paul Fire & Marine Ins. Co., 674 N.W.2d 576, 589

(Wis. Ct. App. 2003) (“An inadequate warning on a product can, by itself, render

the design defective.”).




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      Defendants recognize this, since they too quote Bartlett’s holding that “state-

law design-defect claims like New Hampshire’s that place a duty on manufacturers

to render a drug safer by either altering its composition or altering its labeling are

in conflict with federal laws that prohibit manufacturers from unilaterally altering

drug composition or labeling.” Mot. 35 (quoting Bartlett, 570 U.S. at 490 (emphasis

added)). But, critically, the product in Bartlett was a generic, and so the manufacturer

was required by federal law to match the brand-name label and formulation in

virtually every respect—this duty of sameness is what produced preemption. Here,

by contrast, Defendants, like those in Wyeth, could have modified their label, making

Bartlett inapposite.12 A valid design-defect claim predicated on an inadequate label


12
   Defendants’ other cases either involve only generic drugs, e.g., Brinkley v. Pfizer,
Inc., 772 F.3d 1133, 1135 (8th Cir. 2014), or expressly reject the simplistic reasoning
they propose: “[T]he Bartlett Court did not reach the sweeping conclusion that all
design defect claims are preempted by federal law, but rather applied the
impossibility preemption analysis to the plaintiff’s design defect claim regarding a
generic drug, and clarified that preemption cannot be avoided if the only way a
manufacturer can comply with both federal and state law is to exit the market.” Yates
v. Ortho-McNeil-Janssen Pharms., Inc., 808 F.3d 281, 296 (6th Cir. 2015) (emphasis
added). Notably, Yates rejected Defendants’ reading of Bartlett to extend
impossibility preemption to all design-defect claims for both generic and brand-
name manufacturers, noting that that portion of Bartlett “is dicta, written in a section
explaining the general approval process that manufacturers must go through to gain
approval from the FDA before marketing any drug in interstate commerce.” Id. at
296. Yates held that the label was adequate, id. at 292, and to the extent any non-
label theory of design defect existed, it would require a change to the chemical
composition of the drug, which the court determined for that drug would be a major
change, id. at 299–300.
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is not defeated simply because Plaintiffs have also pleaded, for instance, negligent

failure to warn. Rule 12 authorizes a motion to dismiss for “failure to state a claim.”

Fed. R. Civ. P. 12(b)(6). Rule 12(b)(6) is not a vehicle to foreclose a movants’

preferred arguments, theories, or approaches. If any theory can support a recovery,

a motion to dismiss must be denied. See BBL, Inc. v. City of Angola, 809 F.3d 317,

325 (7th Cir. 2015) (“A motion to dismiss under Rule 12(b)(6) doesn’t permit

piecemeal dismissals of parts of claims; the question at this stage is simply whether

the complaint includes factual allegations that state a plausible claim for relief.”).

      The defendant cannot select a plaintiff’s theory for her. Here, Plaintiffs’

design-defect theory is based on the combined effect of the product itself and its

warnings. For example, the product loses flexibility over time, and even if the

structural features causing that decay could not be changed, the number of years

listed on the label could be.13 Similarly, Defendants can point to no regulation


13
   Defendants’ attempt to deny this finds no support in FDA regulations. They
argue—based on their own materials, not the pleading—that 10 years is an
“indication for use,” not an “expiration date.” Mot. 43. In the first place, it is simply
false that “The ‘indications and usage’ section of a drug label cannot be changed
using the CBE.” Id. Nothing in the “major change” regulation suggests indications
for use require pre-approval. And while Defendants cite 21 C.F.R. § 314.70(c)(6),
which concerns “moderate changes,” it appears they looked only at subsection
(c)(6)(iii)(A), addressing warnings, precautions, or adverse reactions, and
overlooked the other subsections, including (C) (dosage and administration) and—
crucially—(D) which empowers a manufacturer to “delete false, misleading, or
unsupported indications for use or claims for effectiveness.” This of course makes
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preventing them from improving the quality of the materials used to make the

product flexible for longer. Neither changes to the label nor improvements to the

materials or manufacturing would have “a substantial potential to have an adverse

effect on the…safety or effectiveness of the drug product.” 21 C.F.R. § 314.70(b)(1).

         4. Plaintiffs’ Manufacturing Defect Claims Survive Preemption.

      Defendants correctly identify that “a manufacturing defect refers to individual

products that are improperly made while a design defect concerns a defect in the

entire product line,” Mot. 43, but then pretend the manufacturing defect claims must

be preempted because they involve the entire product line.14 Plaintiffs in this case

used different products over different time periods, and there is nothing

contradictory about saying that Paragard itself had a defective label, a defective



sense and is consistent with FDA’s approach to warnings and the label generally:
while adding or enhancing an indication for use could not be done unilaterally,
correcting an overstated indication can be. Second, the label includes both an
indications-for-use and a separate expiration date by which the product must be
placed in a woman. MPIC ¶¶ 33–36. There is no reason Defendants could not have
retained the indication while reducing the expiration date or adding a warning for
anyone who exceeds some lower number of years.
14
   Curiously, Defendants cite as support the allegation that Paragard was inherently
dangerous “at all times,” but—apart from this allegation being consistent with a
manufacturing defect that rendered it more dangerous—this allegation is made in
the Design Defect Count, not the Manufacturing Defect Count, nor is it incorporated
into the Manufacturing Defect Count by reference. Compare Mot. 44 (citing MPIC
¶¶ 172, 182, 317, 393), with id. ¶ 214 (the Manufacturing Defect Count, not
incorporating any of those paragraphs).
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design, and some of the units were also defectively manufactured (namely, the ones

used by injured plaintiffs alleging this claim).15

      Courts routinely allow claims alleging both manufacturing and design defects

to proceed to discovery, and for good reason. As the Seventh Circuit has explained:

             [T]he victim of a genuinely defective product—for
             example, an air bag that fails to inflate in a serious
             automobile collision, or an implantable cardiac
             defibrillator that delivers powerful electric shocks to a
             heart that is functioning normally—may not be able to
             determine without discovery and further investigation
             whether the problem is a design problem or a
             manufacturing problem. It is common, for example, for
             injured plaintiffs to plead both defective manufacture and
             defective design and to pursue discovery on both theories,
             as occurred in Riegel itself, for example.

Bausch, 630 F.3d at 560 (citing cases). In FDA cases, “much of the critical

information is kept confidential as a matter of federal law. The specifications of the

FDA’s premarket approval documents, for example, are confidential, and there is no

public access to complete versions of these documents. An injured patient cannot

gain access to that information without discovery.” Id. If after discovery “the

problem turns out to be a design feature that the FDA approved” Plaintiffs’

manufacturing defect claim may fail, but “if the problem turns out to be a failure to


15
  In a master complaint there may be different causes of action that apply to different
plaintiffs. If Defendants’ position is correct, they would win dismissal unless all
claims are for design defect or all claims are for manufacturing defect.
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comply with the FDA’s legally enforceable conditions” then preemption is

unavailable. Id.

      Plaintiffs allege that Defendants failed to follow the FDA’s requirements and

best practices, and instead sold a product with inconsistent quality in which certain

units were defectively manufactured and those defects caused Plaintiffs’ injuries.

MPIC ¶ 139. For example, contrary to Paragard’s design, the plastic on the units

some Plaintiffs used was made with “insufficient flexibility” and “the Paragard

copper had experienced corrosion or discoloration at the time of final packing.” Id.

¶ 217 (emphasis added). The plastic should have met the design specifications but

did not because “sourcing suitable plastic with sufficient flexibility has been an

ongoing problem.” Id. ¶ 141. And obviously the copper should not have been

corroded and discolored when packaged for sale. See also id. ¶ 143 (alleging the

copper inside some Paragard units was “rotting”). The MPIC alleges that these issues

violated “Defendants’ written quality controls,” but of course Plaintiffs have no

access to those documents, and so cannot allege specifically which policies or

practices were violated and by how much. Id. ¶ 144.16



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   Defendants cite In re Zantac (Ranitidine) Prods. Liab. Litig., but that case is
distinguishable. 2020 WL 7864213 (S.D. Fla. Dec. 31, 2020). There, Plaintiffs
alleged “within a manufacturing-defect count itself that” the drug did not deviate
from its “design.” Id. at 21. The theory there was that ranitidine inherently degrades
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      Defendants claim any effort to prevent manufacturing defects would be a

preempted “major change,” but provide no explanation of how a process

improvement that reduces manufacturing problems (for example, more careful

testing, better plastic sourcing, or inspection of the copper before packaging) could

be “a manufacturing change that has ‘substantial potential to adversely affect the

identity, strength, quality, purity, or potency of the drug as they may relate to the

safety or effectiveness of a drug.’” Mot. 46 (quoting 21 U.S.C. § 356a(c)(2) and 21

C.F.R. § 314.70(b)(1)) (emphasis added). Additional testing has no potential to

adversely affect the safety or effectiveness of Paragard, and the FDA has never

prevented manufacturers from improving safety. Cf. 21 C.F.R. § 314.70(c)(6)(i)

(deeming a “moderate change” “changes in the methods or controls to provide

increased assurance that the drug substance or drug product will have the

characteristics of identity, strength, quality, purity, or potency that it purports or is

represented to possess” (emphasis added)).

                                   CONCLUSION

      Defendants’ Motion to Dismiss should be denied.




into a carcinogen, not that flaws in the manufacturing process caused any problem.
Id. Even so, the court allowed plaintiffs to replead. Id.
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Dated: June 21, 2021                 Respectfully submitted,


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                         CERTIFICATE OF SERVICE

      I hereby certify that on June 21, 2021, I electronically filed the foregoing

document with the Clerk of the Court using CM/ECF and that the foregoing

document is being served on all counsel of record or parties registered to receive

CM/ECF Electronic Filings.



                                                  /s/ Erin K. Copeland
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